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GREENBERG GLUSKER FIELDS CLAMAN
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Case

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2:11-cv-03566-AHM-RZ. Document 27 Filed 05/17/12 Page 1of2 Page ID #:178

. SHEPHARD (SBN 078129)

LLC, a New York Limited Liability Company, and
TC Ventures, Inc., a New York Corporation

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MICHAEL CHOW, known as “MR.
CHOW,” MR CHOW ENTERPRISES,
LTD., a California Limited Partnership,
MC MIAMI ENTERPRISES, LLC, a
Florida Limited Liability Company,
MC TRIBECA, LLC, a New York
Limited Liability Company, and TC

VENTURES, INC., a New York
Corporation,
Plaintiffs,
vs.

GIUSEPPE CIPRIANI, IGNAZIO
CIPRIANI, MAGGIO CIPRIANI, MR.
C MANAGER, LLC AND MR. C-
USA, LLC,

Defendants.

 

 

 

58216-00003/1832803.2

Case No. CV-11-03566 AHM (RZx)
[Assigned to: Hon. A. Howard Matz]
STIPULATION FOR DISMISSAL

Trial Date: September 18, 2012

STIPULATION FOR DISMISSAL

 

 
 

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DATED: May 17, 2012

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58216-00003/1832803,2

The parties to this action, through their respective counsel of record, hereby
stipulate that this action may be and hereby is being dismissed with prejudice.

Each party shall bear its own costs and attorneys’ fees incurred in this action.

GREENBERG GLUSKER FIELDS
CLAMAN & MACHTINGER LLP

By: /s/ Julia R. Haye

 

JULIA R. HAYE |
Attorneys for Plaintiffs Michael Chow
known as “Mr. Chow,” Mr Chow |
Enterprises, Ltd., a California Limited
Partnership, MC Miami Enterprises, LLC, a
Florida Limited Liability Company,
MC Tribeca, LLC, a New York Limited
Liability Company, and TC Ventures, Inc.,
a New York Corporation

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By:_/s/ Gail Migdal Title

 

GAIL MIGDAL TITLE
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Cipriani, Ignazio Cipriani, vdaggio Cipriani,
Mr. C Manager, LLC and Mr. C-USA, LLC

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